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             EXHIBIT B
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                                                           NO.
      TRAINING AND EMPLOYMENT                              21-24, Change 1

               NOTICE                                      DATE
                                                           February 27, 2025

TO:            STATE WORKFORCE AGENCIES
               STATE WORKFORCE LIAISONS
               STATE WORKFORCE DEVELOPMENT BOARDS AND STAFF
               LOCAL WORKFORCE DEVELOPMENT BOARDS AND STAFF
               AMERICAN JOB CENTER DIRECTORS
               ETA COMPETITIVE GRANTEES
               COMMUNITY COLLEGES AND TRIBAL COLLEGES
               STATE APPRENTICESHIP AGENCIES
               JOB CORPS CENTER DIRECTORS

FROM:          AMY SIMON
               Acting Assistant Secretary

SUBJECT:       Cancellation of Training and Employment Notice (TEN) No. 21-24: Immediate
               Implementation of Executive Orders “Ending Radical and Wasteful Government
               DEI Programs and Preferencing” and “Ending Illegal Discrimination and
               Restoring Merit-Based Opportunity”

1. Purpose. To change the status of TEN No. 21-24 from active to cancelled.

2. Action Requested. Please disseminate this information to appropriate staff.

3. Summary and Background.

   a. Summary – TEN No. 21-24, Change 1, changes the status of TEN No. 21-24 to
      cancelled.

   b. Background – In compliance with the Preliminary Injunction issued on February 21,
      2025, in the United District Court for the District of Maryland, National Association of
      Diversity Officers in Higher Education v. Trump, 25-cv-333, effective immediately the
      Employment and Training Administration is rescinding TEN No. 21-24, Immediate
      Implementation of Executive Orders “Ending Radical and Wasteful Government DEI
      Programs and Preferencing” and “Ending Illegal Discrimination and Restoring Merit-
      Based Opportunity,” which was issued on January 22, 2025.

4. Details. The status of TEN No. 21-24 has been changed to cancelled.

5. Inquiries. Please direct inquiries to the appropriate Regional Office.

6. References. N/A

7. Attachments. N/A
                          EMPLOYMENT AND TRAINING ADMINISTRATION
                                 U.S. DEPARTMENT OF LABOR
                                  WASHINGTON, D.C. 20210
